                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                     NO. 5:09-CR-259-FL-2

 UNITED STATES OF AMERICA,                      )
                                                )
             v.                                 )
                                                )                      ORDER
 DONTE MONTRELL JONES,                          )
                                                )
                          Defendant.            )



       This matter is before the court on defendant’s pro se renewed motion for reduction of

sentence pursuant to § 404 of the First Step Act (DE 355). The government did not respond to

the motion.

       The court lacks jurisdiction to address the motion on the merits. Section 404(c) of the

First Step Act provides that: “[n]o court shall entertain a motion made under this section to reduce

a sentence if . . . a previous motion made under this section to reduce the sentence was, after the

date of enactment of this Act, denied after a complete review of the motion on the merits.” Pub.

L. No. 115-391, § 404(c), 132 Stat. 5194, 5222. Here, the court denied defendant’s first § 404

motion for sentence reduction on December 22, 2020, and that ruling constituted an adjudication

on the merits. Where the First Step Act precludes consideration of second or successive § 404

motions, the instant renewed motion for sentence reduction (DE 355) is DISMISSED without

prejudice.

       SO ORDERED, this the 21st day of July, 2021.


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                                              LOUISE W. FLANAGAN
                                              United States District Judge



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